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                                    (Skatteforvaltningen) Tax Refund Scheme LitigationPG /$. 

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